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                Exhibit 2
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                 UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

GEORGIA REPUBLICAN PARTY,
INC., et al.,

                          Plaintiffs,               Case No. 1:20CV5018

       v.

BRAD RAFFENSPERGER, et al.,

                          Defendants.



 DECLARATION OF DARBY GRANT IN SUPPORT PLAINTIFF NRSC’S
  EMERGENCY MOTION FOR TEMPORARY RESTRAINING ORDER
              AND PRELIMINARY INJUNCTION

      I, Darby Grant, declare as follows in support of the Emergency Motion for

Temporary Restraining Order and Preliminary Injunction filed by Plaintiff NRSC,

among others, in the above-captioned matter:

      1.    I am over the age of 18 and competent to testify in this matter.

      2.    I have personal knowledge about the matters stated in this Declaration.

      3.    I am currently employed by the NRSC in the position of Deputy

General Counsel, which I have held since January 6, 2020.

      4.    I am authorized to make this Declaration on behalf of the NRSC.

      5.    The NRSC is a Washington, D.C. nonprofit corporation with its

principal office in Washington, D.C.
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      6.     The NRSC is the principal national political party committee focused

on electing Republican candidates to the U.S. Senate. The NRSC is a Republican

committee that is established and maintained as a national political party, as defined

in 11 C.F.R. § 110.2(c)(2)(iii) and 52 U.S.C. § 30116(h).

      7.     The NRSC is registered with the Federal Election Commission (“FEC”)

as a political committee, and is recognized by the FEC as a national political party

committee.

      8.     The NRSC is a national organization solely devoted to strengthening

the Republican Senate Majority and electing Republicans to the United States

Senate. The NRSC accomplishes this mission by supporting and assisting current

and prospective Republican U.S. Senate candidates throughout the country,

including in Georgia, in the areas of budget planning, election law compliance,

fundraising, communications tools and messaging, and research and strategy

      9.     In 2020, the NRSC made substantial contributions and expenditures to

support the two Republican Senate candidates in Georgia in the November 3, 2020

general election, it has already made substantial contributions and expenditures to

support these candidates in the January 5, 2021 runoff, and it intends to make further

expenditures in connection with the runoff election.

      10.    The NRSC’s stated mission is to elect Republicans to the U.S. Senate

and to provide support and assistance to current and prospective Republican U.S.


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Senate candidates. To that end, the NRSC has spent millions of dollars to support

Senators Loeffler and Perdue in the upcoming runoff election in Georgia.

      11.    The NRSC frequently represents the interests of Republican Members

of the U.S. Senate, including Senators Kelly Loeffler and David Perdue, who are

candidates for election.

      12.    Senators Loeffler and Perdue expect the NRSC to take reasonable

actions to ensure that the runoff election is conducted in accordance with laws that

require the rejection of absentee ballots with invalid signatures. Such actions are

necessary to protect the Senators’ interest in a fair and competitive election.

      13.    If absentee ballots with invalid signatures are counted in the runoff

election, the results of the election will be affected. Moreover, by undertaking

actions to ensure proper vote-counting, the NRSC’s resources are necessarily

diverted from the impending runoff election.

      14.    These harms will become irreparable after election officials begin

opening absentee ballot envelopes containing the voter’s signature and separating

the ballots from envelops, as scheduled to start as soon as December 21, 2020. Once

that occurs, there will be no way to prevent invalid votes from being counted if a

signature is determined to be invalid.




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      15.   For these reasons, the NRSC has a specific, concrete, and immediate

interest in ensuring that absentee ballots with invalid signatures are rejected in

accordance with applicable law.

      I declare under penalty of perjury that the foregoing is true and correct.

      Executed on December 15, 2020.




                                              ___________________________
                                              Darby Grant




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